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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
                v.                                 )        Case No. 07-20018-JWL
                                                   )
AHMAD AUSTIN,                                      )
                                                   )
                       Defendant.                  )
                                                   )



                           MEMORANDUM AND ORDER

       On March 9, 2012, the court denied defendant Ahmad Austin’s Motion for

Retroactive Application of Sentencing Guidelines on the merits (doc.360). F o r t h e

reasons set forth in that Memorandum and Order, Mr. Austin is ineligible for relief

pursuant to 18 U.S.C. § 3582(c)(2). As the facts establish that the defendant is ineligible

for relief, the court is without jurisdiction to consider a reduction of sentence under §

3582(c). United States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir. 2007) (Where the

Amendment did not subsequently lower the defendant’s Guideline range, the district

court has no jurisdiction to consider a modification to his sentence under 18 U.S.C. §

3582(c)(2)). As such, the court’s prior Order is amended nunc pro tunc to dismiss the

defendant’s Motion for Retroactive Application of Sentencing Guidelines for lack of

jurisdiction.
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       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

for Modification of Retroactive Application of Sentencing Guidelines (doc. 354) is

dismissed for lack of jurisdiction.



       IT IS SO ORDERED this 25th day of May, 2012.


                                        s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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